      Case 2:01-cr-00071-MV Document 68 Filed 02/11/04 Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                          Plaintiff,

vs.                                                      CR 01-71 MV

MICHAEL ESTRADA,

                          Defendant.

                                       ORDER

      The financial indigence of the defendant to retain counsel having been established

by the Court and the defendant not having waived the appointment of counsel,

       IT IS ORDERED that the Federal Public Defender Organization, DENNIS

CANDELARIA, AFPD, District of New Mexico, is hereby appointed to represent the

defendant in this cause until further order of the Court.




                                         _______________________________
                                         U.S. MAGISTRATE JUDGE
